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                      UNITED STATES COURT OF APPEALS                       FILED
                              FOR THE NINTH CIRCUIT                         AUG 25 2023
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
FEDERAL TRADE COMMISSION,                         No.    23-15992

                  Plaintiff-Appellant,            D.C. No. 3:23-cv-02880-JSC
                                                  Northern District of California,
 v.                                               San Francisco

MICROSOFT CORPORATION;                            ORDER
ACTIVISION BLIZZARD, INC.,

                  Defendants-Appellees.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

         Appellant’s unopposed motion (Docket Entry No. 34) to file under seal the

unredacted opening brief and Volume 3 of the excerpts of record is granted,

subject to reconsideration by the merits panel. The Clerk will publicly file the

motion to seal (Docket Entry No. 34-1) and Volumes 1 and 2 of the excerpts of

record (Docket Entry No. 35). The Clerk will file under seal the unredacted

opening brief (Docket Entry No. 34-2) and Volume 3 of the excerpts of record

(Docket Entry No. 34-3).

         Within 21 days of this order, appellant must submit for public filing a

redacted version of the opening brief that tracks the redactions in highlighted text

in Docket Entry No. 34-2. The page numbering and citations in the public version




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must remain the same as in the sealed version.

         The existing briefing schedule remains in effect.




OSA145                                      2                              23-15992
